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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                                    WESTERN DIVISION

Andrea Goldblum,                                :

           Plaintiff,                           :      Case No. 1:19-CV-00398

v.                                              :      Judge Dlott

University of Cincinnati,                       :      Magistrate Judge Bowman

           Defendant.                           :


                    DEFENDANT UNIVERSITY OF CINCINNATI’S
              OBJECTIONS TO REPORT AND RECOMMENDATION (DOC. 17)


      I.      Introduction

           Defendant, University of Cincinnati (“UC”), pursuant to Fed.R.Civ.P. 72(b)(2), hereby

files its Objections to the Report and Recommendation on Defendant’s Motion to Dismiss (the

“Report”) (Doc. 17).

           Respectfully, the Report improperly rejects application of the manager rule 1 in Title IX

retaliation cases without addressing the more specific question whether the manager rule applies

in Title IX retaliation cases brought by Title IX coordinators. At the very least, the manager rule

should apply in that subset of Title IX retaliation cases.

           The Court should apply the manager rule to Title IX retaliation cases brought by Title IX

coordinators because the rule’s underpinnings apply equally to Title IX retaliation cases.

Moreover, rejection of the manager rule in Title IX retaliation cases brought by Title IX

coordinators risks excising the protected activity prong from the Title IX retaliation prima facie

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       The manager rule holds that “in order to state a retaliation claim, complaints made within
the scope of an employee’s job cannot constitute protected conduct.” Atkinson v. Lafayette Coll.,
653 F.Supp.2d 581, 596 (E.D. Pa. 2009).
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case. And, lastly, since Title IX is a Spending Clause statute, a funding recipient like UC must

have notice before it can be held liable for retaliation. To the latter point, UC could only have

notice that its Title IX coordinator is engaging in protected activity if the coordinator crosses the

line from being an employee merely performing her job as Title IX coordinator to an employee

lodging a personal complaint, i.e. asserting statutory rights.

   II.       Standard of Review

          A party may serve written objections to a report and recommendation. Fed.R.Civ.P.

72(b)(2).     “The district judge must determine de novo any part of the magistrate judge's

disposition that has been properly objected to. The district judge may accept, reject, or modify

the recommended disposition; receive further evidence; or return the matter to the magistrate

judge with instructions.” Fed.R.Civ.P. 72(b)(3); see also 28 U.S.C. § 636(b)(1) (upon the filing

of objections, the district judge “shall make a de novo determination of those portions of the

report or specified proposed findings or recommendations to which objection is made” and “may

accept, reject, or modify, in whole or in part, the findings or recommendations made by the

magistrate judge”).

   III.      Objections

          For the reasons set forth below, UC objects to the Report’s findings that (1) the manager

rule does not apply to Plaintiff’s Title IX retaliation claim, and (2) Plaintiff engaged in protected

activity. (Doc. 17, PAGEID # 114-121).

             a. The manager rule’s underpinnings apply equally to Title IX retaliation
                claims.

          Although the manager rule finds its roots in FLSA retaliation cases, its underpinnings

apply equally, if not more so, in Title IX retaliation cases. The Fifth Circuit aptly described the

basis for the manager rule,



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       This rule is eminently sensible for management employees … because a part of
       any management position often is acting as an intermediary between the
       manager's subordinates and the manager's own superiors. The role necessarily
       involves being mindful of the needs and concerns of both sides and appropriately
       expressing them. Voicing each side's concerns is not only not adverse to the
       company's interests, it is exactly what the company expects of a manager.

       If we did not require an employee to "step outside the role" or otherwise make
       clear to the employer that the employee was taking a position adverse to the
       employer, nearly every activity in the normal course of a manager's job would
       potentially be protected activity under [the FLSA]. An otherwise typical at-will
       employment relationship could quickly degrade into a litigation minefield, with
       whole groups of employees--management employees, human resources
       employees, and legal employees, to name a few--being difficult to discharge
       without fear of a lawsuit.

Hagan v. Echostar Satellite, L.L.C., 529 F.3d 617, 628 (5th Cir. 2008).

       Whereas only a fraction of the duties of a personnel director implicate the FLSA’s

protections, all of Plaintiff’s duties as UC’s Title IX coordinator fall within the scope of Title IX.

In other words, discerning between activities within the course of the manager’s job is not nearly

as complicated in the FLSA context as it is in the Title IX context. This is primarily why the

logic underpinning the manager rule applies equally, if not more so, in Title IX retaliation cases

brought by Title IX coordinators.

              b. Rejection of the manager rule in Title IX retaliation cases brought by Title
                 IX coordinators risks excising the protected activity prong from the Title IX
                 retaliation prima facie case.

       Without the manager rule, every activity involving the actions of an individual in

Plaintiff’s position would constitute protected activity thereby thwarting analysis of an entire

prong of the Title IX retaliation prima facie case. Such a categorical rule is disfavored. See

Johnson v. University of Cincinnati, 215 F.3d 561, 578 (6th Cir. 2000) (“not… every job-related

action undertaken by a high-level affirmative action official should be considered protected

conduct.”).




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            c. Since Title IX is a Spending Clause statute, a funding recipient like UC must
               have notice before it can be held liable for retaliation.

        Title IX was enacted as an exercise of Congress’ powers under the Spending Clause.

Jackson v. Birmingham Bd. of Educ., 544 U.S. 167, 181 (2005). Thus, “private damages actions

are available only where the recipients of federal funding had adequate notice that they could be

liable for the conduct at issue.” Id. Although funding recipients are on notice that Title IX

prohibits “retaliation against individuals because they complain of sex discrimination,” the

question remains what form the complaint must take. Id. at 183.

        It is “the assertion of statutory rights that is the triggering factor[.]” EEOC v. Romeo

Community Schs., 976 F.2d 985, 989 (6th Cir. 1992). In Title VII retaliation cases, what

constitutes protected activity, i.e. the assertion of statutory rights, is specifically set forth in the

statute. Jackson, 544 U.S. at 175; Johnson, 215 F.3d at 579-583. That is not the case for Title

IX. Title IX prohibits retaliation against those who “advocate the rights of groups protected by

the prohibition against [sex discrimination].” Jackson at 176-177.             In Jackson, the girls’

basketball coach “advocated” by complaining to his supervisors about the lack of funding,

equipment, and facilities for the girls’ basketball team. Id. Jackson, however, did not consider

whether it is necessary to draw a distinction between advocacy by managers whose specific

duties require advocacy, like a Title IX coordinator, and other employees, like the basketball

coach in Jackson.

        Thus, it is the assertion of statutory rights (i.e., the advocacy of rights) by taking some

action adverse to UC―e.g., file an action adverse to UC, actively assist other employees in

asserting rights, or otherwise engage in activities that reasonably could be perceived as directed

towards the assertion of rights protected―that is the hallmark of protected activity for Plaintiff’s

Title IX retaliation claim.    Atkinson, 653 F.Supp.2d at 597 (employee must “signal to the



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employer that he or she is engaging in protected activity”); see, e.g., Jackson, 544 U.S. at 181

(the employer must receive actual notice of the discrimination). The manager rule provides much

needed clarification for funding recipients, like UC, who must navigate between what constitutes

protected versus unprotected activity.

           d. The Sixth Circuit has not addressed application of the manager rule to Title
              IX retaliation cases brought by Title IX coordinators.

       As the Report correctly notes, courts are split on whether the manager rule applies to

Title IX retaliation cases. See, e.g., Atkinson, 653 F. Supp. 2d at 598-599 (applying manager rule

to Title IX retaliation claim); Kelley v. Iowa State Univ. of Sci. & Tech., 311 F. Supp. 3d 1051

(S.D. Iowa 2018) (same); Kailikole v. Palomar Cmty. Coll. Dist., 384 F. Supp. 3d 1185 (S.D.

Cal. 2019) (rejecting application of manager rule to Title IX retaliation claim). Courts are also

split on whether it applies in Title VII retaliation cases. See Furr v. Ridgewood Surgery &

Endoscopy Ctr., LLC, 192 F. Supp.3d 1230, 1247-1248 (D. Kan. 2016) (comparing cases). The

Sixth Circuit has only considered the manager rule in the Title VII retaliation context, although it

did not call it by that name. The Sixth Circuit’s decision in Johnson v. Univ. of Cincinnati, 215

F.3d 561 (6th Cir. 2000) is not dispositive of whether the manager rule applies to Title IX

retaliation claims.

       Importantly, UC is not arguing a Title IX coordinator can never be the victim of Title IX

retaliation. However, even the Sixth Circuit recognizes that “not… every job-related action

undertaken by a high-level affirmative action official should be considered protected conduct.”

Johnson, 215 F.3d at 578. Again, the question is when does the assertion of rights constitute

protected activity?

       Whether the plaintiff in Johnson, a Title VII retaliation case decided by the Sixth Circuit,

engaged in protected activity was a straightforward determination. Johnson filed an EEOC



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complaint, which in the Title VII context is clearly protected conduct. Those are not the facts

here.

             e. Plaintiff did not engage in protected activity.

          Plaintiff alleges that she was retaliated against for sharing with her supervisors concerns

that UC might be violating Title IX and for informally investigating what she believed was a

Title IX violation. (Compl., Doc. 1 at PageID # 11-12, 14, 17, 19, ¶¶ 23, 38, 53, 63). These

actions were admittedly taken “in her role as Title IX Coordinator.” (Id. at PageID # 11, ¶ 22;

see also id. at PageID # 5-6, ¶ 15). Accordingly, the “manager rule” applies and Plaintiff has not

engaged in protected activity. See Atkinson, 653 F.Supp.2d at 596 (The manager rule holds that

“in order to state a retaliation claim, complaints made within the scope of an employee’s job

cannot constitute protected conduct.”).

    IV.      Conclusion.

          For the foregoing reasons, and those stated in its Motion to Dismiss, the University of

Cincinnati respectfully requests that the Court reject the portions of the Report denying the

University’s motion to dismiss Plaintiff’s Title IX retaliation claim, and thereafter dismiss this

case in its entirety.



                                                       Respectfully submitted,

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                                                       Ohio Attorney General

                                                       /s/ Reid T. Caryer
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                                                  Counsel for Defendant


                               CERTIFICATE OF SERVICE

         This will certify that the foregoing Defendant University of Cincinnati’s Objections to
Report and Recommendation was filed electronically on November 4, 2019. Parties may access
this filing through the Court’s system.



                                                  /s/ Reid T. Caryer
                                                  ________________________________
                                                  REID T. CARYER (0079825)
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